        Case 3:10-cv-01872-WWE Document 14 Filed 05/13/11 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

JOHN DWYER

            v.
                                                        3:10CV1872(WWE)

BUDZIK & DYNIA, LLC

                                 DEFAULT JUDGMENT

       This action came on for consideration before the Honorable Warren W. Eginton,

Senior United States District Judge, as a result of plaintiff’s motion for default judgment

pursuant to Rule 55(b) of the FRCvP. On March 22, 2011, a default under Rule 55(a)

FRCvP entered against the defendant. On May 10, 2011, an Order was entered

granting the plaintiff’s motion for default judgment against the defendant. Accordingly

the Court awards damages in the amount of $1,000.00, attorney’s fees in the amount of

$2,100.00 and costs in the amount of $486.57.

       Therefore, it is ORDERED and ADJUDGED that judgment is entered in favor of

the plaintiff, John Dwyer against the defendant, Budzik & Dynia, LLC for a total award

of $3,586.57 and the case is closed.

       Dated at Bridgeport, Connecticut, this 13th day of May 2011.

                                          ROBERTA D. TABORA, Clerk

                                               By         /s/
                                                    Deborah A. Candee
                                                      Deputy Clerk
Entered on Docket
